                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

DANE HARREL, an individual and resident )
of St. Clair County, Illinois, C4 GUN        )
STORE, LLC, an Illinois Limited Liability )
Company, MARENGO GUNS, INC., an              )
Illinois Corporation, ILLINOIS STATE         )
RIFLE ASSOCIATION, FIREARMS                  )
POLICY COALITION, INC., and SECOND)
AMENDMENT FOUNDATION,                        )
                                             )
         Plaintiffs,                         )
                                             )          No. 23 CV 00141
         vs.                                 )
                                             )
KWAME RAOUL, in his official capacity )
As Attorney General of Illinois, BRENDAN )
F. KELLY, in his official capacity as        )
Director of the Illinois State Police, JAMES )
GOMRIC, in his official capacity as          )
State’s Attorney of Randolph County,         )
Illinois, PATRICK D. KENNEALLY, in           )
his official capacity as State’s Attorney of )
McHenry County, Illinois, RICHARD            )
WATSON, in his official capacity as          )
Sheriff of St. Clair County, Illinois,       )
JARROD PETERS, in his official capacity )
as Sheriff of Randolph County, Illinois,     )
ROBB TADELMAN, in his official capacity)
as Sheriff of McHenry County, Illinois.      )
                                             )
         Defendants.

   DEFENDANTS PATRICK D. KENNEALLY AND ROBB TADELMAN’S AGREED
       MOTION FOR EXTENSION OF TIME TO ANSWER AND RESPOND

       Defendants, Patrick D. Kenneally and Robb Tadelman’s (“McHenry County Defendants”),

by their attorneys Patrick D. Kenneally, McHenry County State’s Attorney, and his Assistant

State’s Attorneys, state as follows for Defendants Patrick D. Kenneally and Robb Tadelman’s

Agreed Motion for Extension of Time to Answer and Respond:
       1. McHenry County Defendants seek an extension of time to Answer the Complaint and

           respond to Plaintiffs’ Motion for Preliminary Injunction.

       2. McHenry County Defendants seek until March 1, 2023 to respond to Plaintiffs’ Motion

           for Preliminary Injunction and March 8, 2023 to answer Plaintiff’s Complaint.

       3. McHenry County Defendants have conferred with counsel for Plaintiff and have been

           informed that Plaintiff agrees to the above-referenced extension to answer and respond.


       WHEREFORE, McHenry County Defendants Patrick Kenneally and Robb Tadelman

request this Honorable Court enter an order granting Defendants Patrick D. Kenneally and Robb

Tadelman’s Agreed Motion for Extension of Time to Answer and Respond as provided for

above, together with any and all other relief as the Court deems appropriate.

                                                     Patrick D. Kenneally, McHenry County
                                                     State’s Attorney

                                                     Robb Tadelman, McHenry County Sheriff


                                                     By: /s/ Troy C. Owens
                                                         One of their Attorneys
Patrick D. Kenneally
McHenry County State’s Attorney
Troy C. Owens (6208293)
Assistant State’s Attorneys
McHenry County Government Center
2200 North Seminary Avenue
Woodstock, Illinois 60098
815-334-4159 (phone)
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                                CERTIFICATE OF SERVICE

I hereby certify that on this 21st day of February, 2023, I electronically filed the foregoing
document with the Clerk of Court using the CM/ECF system, which will send notification of
such filing to all ECF filers.
                                               /s/ Troy C. Owens
